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                                                                                    March 06, 2024

                                                                               CLERK, U.S. DISTRICT COURT
                       IN THE UNITED STATES DISTRICT COURT                     WESTERN DISTRICT OF TEXAS
                        FOR THE WESTERN DISTRICT OF TEXAS                          By:        DT
                                 El PASO DIVISION
                                 EL Paso                                                            Deputy

 UNITED STATES OF AMERICA,                       §               Case No:           EP:24-CR-00546-FM
                                                 §
                                                 §
        Plaintiff,                               §
                                                 §   INDIC TMENT
 v.                                              §
                                                 §   Conspiracy toPossess a Controlled Substance with Intent toDist
                                                 §
 JAVIER^CARDOZA RODRIGUEZ^                       §
                                                 §   Conspiracy to Import aControlled Substance
        Defendant.                               §
                                                 §
                                                 §   Notice of Government’s Demand for
                                                 §   Forfeiture


THE GRAND JURY CHARGES:

                                         COUNT ONE
                         (21 U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(A)(ii))

       Beginning on or about July 1, 2023 and continuing through the date of this indictment, in

                                                                       Defendant,

                             JAVIER CARDOZA RODRIGUEZ,

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed, with

others to the Grand Jury known and unknown, to commit an offense against the United States, in

violation of Title 21, United States Code, Section 846, that is to say, the Defendant conspired to

possess a controlled substance, which offense involved cocaine, a Schedule II Controlled

Substance, with intent to distribute same, in violation of Title 21, United States Code, Sections

841(a)(1) and the quantity of the mixture or substance containing cocaine involved in the

conspiracy and attributable to Defendant as a result of Defendant’s own conduct and as a result of

the conduct of other conspirators reasonably foreseeable to Defendant is 5 kilograms or more of a


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mixture or substance containing a detectable amount of cocaine, all in violation of Title 21, United

States Code, Sections 846, 841(a)(1) and 841(b)(1)(A)(ii).



                                         COUNT TWO
                     (21 U.S.C. §§ 963, 952(a), 960(a)(1) & 960(b)(1)(B)(ii))

       Beginning on or about July 1, 2023 and continuing through the date of this indictment, in

                                                                        Defendant,

                              JAVIER CARDOZA RODRIGUEZ,

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed with

others to the Grand Jury known and unknown, to commit an offense against the United States, in

violation of Title 21, United States Code, Section 963, that is to say, the Defendant conspired to

import a controlled substance, which offense involved cocaine, a Schedule II Controlled

Substance, into the United States from Mexico, contrary to Title 21, United States Code, Sections

952(a) and 960(a)(1) and the quantity of cocaine involved in the conspiracy and attributable to

Defendant as a result of Defendant’s own conduct and as a result of the conduct of other

conspirators reasonably foreseeable to Defendant is 5 kilograms or more of a mixture or substance

containing a detectable amount of cocaine, all in violation of Title 21, United States Code, Sections

963, 952(a), 960(a)(1) and 960(b)(1)(B)(ii).

              NOTICE OF GOVERNMENT’S DEMAND FOR FORFEITURE
                            [See Fed. R. Crim. P. 32.2]

                                               I.
                            Drug Violation and Forfeiture Statutes
                    [Title 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(A)(ii),
            subject to forfeiture pursuant to Title 21 U.S.C. §§ 853(a)(1) and (2)]

       As a result of the foregoing criminal violations set forth in Count One, the United States

gives notice to Defendant JAVIER CARDOZA RODRIGUEZ of its intent to seek the forfeiture


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of certain property upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 21 U.S.C. §§

853(a)(1) and (2), which state:

       Title 21 U.S.C. § 853. Criminal Forfeitures
       (a) Property subject to criminal forfeiture
               * * *
           (1) any property constituting, or derived from, any proceeds the person obtained,
           directly or indirectly, as the result of such violation;
           (2) any of the person’s property used, or intended to be used, in any manner or part, to
           commit, or to facilitate the commission of, such violation.

                                              II.
                            Drug Violation and Forfeiture Statutes
                  [Title 21 U.S.C. §§ 963, 952(a), 960(a)(1), 960(b)(1)(B)(ii),
       subject to forfeiture pursuant to Title 21 U.S.C. §§ 853(a)(1) and (2) and 970]

       As a result of the foregoing criminal violations set forth in Count Two, the United States

gives notice to Defendant JAVIER CARDOZA RODRIGUEZ of its intent to seek the forfeiture

of certain property upon conviction pursuant to Fed R. Crim. P. 32.2 and Title 21 U.S.C. §§

853(a)(1) and (2), which states:

       Title 21 U.S.C. § 853. Criminal Forfeitures
        (a) Property subject to criminal forfeiture
         (1) any property constituting, or derived from, any proceeds the person obtained,
         directly or indirectly, as the result of such violation;
         (2) any of the person’s property used, or intended to be used, in any manner or part, to
         commit, or to facilitate the commission of, such violation.

       Title 21 U.S.C. § 970. Criminal Forfeitures
           Section 853 of this title, relating to criminal forfeitures, shall apply in every respect to
           a violation of this subchapter punishable by imprisonment for more than one year.

       This Notice of Demand for Forfeiture includes but is not limited to the money judgment

described in Paragraph III.




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                                              III.
                                         Money Judgment

       A sum of money that represents the amount of proceeds obtained, directly or indirectly,

property involved in such offense, or traceable to such property as a result of the violations set

forth above for which Defendant JAVIER CARDOZA RODRIGUEZ is solely liable.

                                         Substitute Assets

       If any of the above-described forfeitable property, as a result of any act or omission of the

Defendant:

       a.        cannot be located upon the exercise of due diligence;
       b.        has been transferred or sold to, or deposited with, a third party;
       c.        has been placed beyond the jurisdiction of the court;
       d.        has been substantially diminished in value; or
       e.        has been commingled with other property which cannot be divided without
                 difficulty;

it is the intent of the United States to seek forfeiture of any other property, up to the value of said

money judgment, as substitute assets pursuant to Title 21 U.S.C. § 853(p) and Fed. R. Crim. P.

32.2(e)(1).




JAIME ESPARZA
UNITED STATES ATTORNEY



BY:
      Assistant U.S. Attorney




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